Case 2:05-cr-20146-.]PI\/| Document 5 Filed 06/24/05 Page 1 of 2 Page|D 7

IN THE UNITED sTATEs DIsTRIcT coURT Ti_. you g ¢g
FOR THE wEsTERN nisTRicT oF TENNESSEE
wEsTERN DIVISION 35 £J;gt '¢5 _¢

 

UNITED STATES OF AMERICA

 

Plaintiff,

criminal NO. §§§; onjk Mi

bon/lew MEN$@AI

(GO-Day Continuance)

 

 

 

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Defendant(s).

 

REPORT ON FUGITIVE STATUS A.ND RESETTING

 

As indicated by the signature of counsel for the United
States, through its Assistant United States Attorney, this case
remains an active case and there are continuing efforts to locate
the above~referenced fugitive defendant(s). A follow-up report
on efforts to bring the above-referenced fugitive defendant(s)
before the Court will be made on Fridav, Auqust 26, 2005, at
10:30 a.m.

SO ORDERED this 24th day Of JU.Ile, 2005.

W@QQ

JO PHIPPS MCCALLA
UN TED S'I`ATES DISTRICT J'UDGE

 

rt

 

Aséistant United\S_t-a'ies Attorney This document entered on the docket sheet in compliance
with Flu|e 55 and/or 32{b) FHCrP on "

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CR-20146 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

